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 7                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9   MADELEINE F. SHATTENKIRK, individually
     and on behalf of all others similarly situated,
10
                            Plaintiff,                       NO.
11
            v.                                               CLASS ACTION COMPLAINT
12
     ALASKA AIRLINES, INC., a Delaware                       JURY DEMAND
13   corporation,

                            Defendant.
14

15          Plaintiff Madeleine F. Shattenkirk (“Plaintiff”), individually and on behalf of all others
16   similarly situated, brings this class action lawsuit against Defendant Alaska Airlines, Inc.
17   (“Alaska” or “Defendant”) based upon her own personal knowledge, the investigation of her
18   counsel, and on information and belief as to all other matters.
19                                        I. INTRODUCTION
20          1.      This proposed class action concerns monetary damages that Plaintiff and

21   consumers residing nationwide have suffered as a result of purchasing travel insurance through

22   Defendant’s website. Defendant’s website encourages ticket purchasers to protect their trip with

23   travel insurance provided by Allianz (or any other third-party insurers that have partnered with

24

                                                                                TOUSLEY BRAIN STEPHENS PLLC
     CLASS ACTION COMPLAINT - 1                                                   1700 Seventh Avenue, Suite 2200
                                                                                      Seattle, Washington 98101
                                                                                TEL. 206.682.5600  FAX 206.682.2992
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 1   Alaska) to offer travel insurance exclusively through Alaska’s website. Alaska does not disclose,

 2   however, that it has a financial interest in the travel insurance and, in fact, receives an illegal

 3   kickback from the insurer in exchange for brokering the insurance sale. Defendant’s website

 4   misled her into paying for the cost of that illegal kickback, and Defendant is therefore liable for

 5   these damages, among other things.

 6           2.     In light of the above, Plaintiff brings common law claims for unjust enrichment,

 7   fraud, conversion and for violations of the unfair business practices and consumer protection

 8   statutes of the State of Washington and the State of Florida, as alleged herein.

 9                                             II. PARTIES

10           3.     Plaintiff Madeleine F. Shattenkirk is a resident of Boca Raton and citizen of

11   Florida. She purchased trip insurance from Alaska’s website at www.alaskaair.com on June 16,

12   2019.

13           4.      Defendant Alaska Airlines (“Alaska”) is a Delaware corporation with its

14   principal place of business in Seattle, Washington. Alaska is not licensed under any state laws,

15   including the state of Washington, to solicit, negotiate, transact or effect contracts of insurance.

16                                     III. JURISDICTION AND VENUE

17           5.     This Court has jurisdiction over this Action pursuant to the Class Action Fairness

18   Act (“CAFA”), 28 U.S.C. § 1332(d), because members of the proposed Classes are citizens of

19   states different from Defendant’s home state, and the aggregate amount in controversy exceeds

20   $5,000,000, exclusive of interest and costs.

21           6.     In addition, under 28 U.S.C. § 1367, this Court may exercise supplemental

22   jurisdiction over the state law claims because all the claims are derived from a common nucleus

23

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                                                                                       Seattle, Washington 98101
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 1   of operative facts and are such that Plaintiff ordinarily would expect to try them in one judicial

 2   proceeding.

 3          7.      This Court has personal jurisdiction over Plaintiff because Plaintiff submits to the

 4   Court’s jurisdiction.

 5          8.      This Court has personal jurisdiction over Defendant pursuant to 18 U.S.C. §

 6   1965(d) because it is found, has agents, and transacts business in this District and because it has

 7   its principal place of business in the State of Washington.

 8          9.      Venue is proper in this District under 28 U.S.C. § 1391(b)(1) and (c)(2) because

 9   Defendant’s contacts are sufficient to subject it to personal jurisdiction in this District, and

10   therefore, Defendant resides in this District for purposes of venue, or under 28 U.S.C. §

11   1391(b)(2) because certain acts giving rise to the claims at issue in this Complaint occurred,

12   among other places, in this District.

13                                  IV. FACTUAL ALLEGATIONS

14          A.      Alaska receives illegal kickbacks/commissions from the travel insurers that
                    Alaska promotes on its website.
15
            10.     Travel or trip insurance essentially covers any added costs or lost payments that
16
     an individual might incur while on a trip or planning a trip. For example, if a consumer is
17
     forced at the last minute to switch or cancel a flight, then travel insurance will cover any flight-
18
     switching fees or—if necessary—the otherwise-lost cost of the flight.
19
            11.     Almost every state in the nation requires insurance agents operating within their
20
     borders to be licensed, which allow states to ensure—among other things—that the agent is
21
     subject to regulation, that the agent helps bear the cost of that regulation, and that the agent is
22
     sufficiently qualified to sell a product as potentially complicated and significant as insurance.
23
     Consequently, almost every state in the country forbids unlicensed individuals and entities from
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                                                                                  TOUSLEY BRAIN STEPHENS PLLC
     CLASS ACTION COMPLAINT - 3                                                     1700 Seventh Avenue, Suite 2200
                                                                                        Seattle, Washington 98101
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 1   acting as insurance brokers or receiving money for insurance brokering. This includes the State

 2   of Washington. See WAC 284-17-011(1).

 3          12.     Despite these prohibitions, transportation companies such as airlines, including

 4   Defendant, have come under fire for receiving undisclosed, illegal brokerage fees or

 5   commissions—i.e., kickbacks—from the travel-insurance companies that they promote on their

 6   websites. In August 2018, United States Senator Edward J. Markey released a report detailing

 7   this practice, which—in addition to being illegal under state law—is inequitable for several

 8   reasons, including: travel insurance is typically only necessary, in the first place, because the

 9   airlines have begun charging exorbitant switching and cancelation fees; the insurance that these

10   airlines promote is often significantly inferior to the insurance that’s available on the open

11   market (i.e., it offers less coverage and presents significant obstacles to reimbursement); and

12   travel-insurance kickbacks now constitute an illegal but significant “profit center” for “almost

13   every major airline” in the country—one that’s being unknowingly funded by consumers.1

14          13.     Defendant Alaska engages in the type of unlicensed insurance brokering

15   described in the Markey Report. Throughout the class period, Alaska offered for sale and urged

16   its passengers, via its website, to buy travel insurance provided by a third-party insurer—

17   Allianz Global Assistance.2 If a passenger in fact opted for coverage, she paid a certain sum to

18   the insurer in exchange for the travel insurance. That sum, however, included an undisclosed

19   fee that the insurer would then pay back to Alaska, in exchange for helping broker the

20   insurance sale; i.e., Alaska was paid an illegal brokerage fee.

21
     1
       See OFFICE OF SENATOR EDWARD J. MARKEY, FLYER BEWARE: IS TRAVEL INSURANCE WORTH
22   IT? (2018), available at
     https://www.markey.senate.gov/imo/media/doc/Flyer%20Beware%20Report.pdf
23   2
       More specifically, Allianz Global Assistance, Jefferson Insurance Company, and BCS
     Insurance Company.
24

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                                                                                       Seattle, Washington 98101
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 1          14.     Alaska did not, however, disclose to consumers that it was receiving these

 2   kickbacks, and its website misled consumers into unknowingly funding its improper brokerage

 3   fees, as described in more detail, below.

 4          B.      Alaska misleads consumers into funding its illegal brokerage fees.

 5          15.     In addition to operating flights nationwide, Alaska operates 1,200 flights to 115

 6   destinations in the United States, Canada, Mexico and Costa Rica. As part of its business,

 7   Alaska sells tickets to customers through its website, www.alaskaair.com.

 8          16.     When a customer visits Alaska’s website, the site allows the customer to select

 9   their preferred destination and travel dates.

10          17.     After the customer selects her specific flight, Alaska’s website provides the

11   customer with the price of that flight.

12          18.     Before the customer completes her purchase, Alaska’s website presents

13   customers with the option to buy travel-insurance policy with Allianz Global Assistance.

14          19.     After the customer selects the desired flight or flights, enters her personal

15   information, and selects her seat, the customer reaches the “Checkout” page.

16          20.     Below the area where a person enters his or her payment information is the

17   conspicuous statement in bold: “Highly Recommended: Protection for your trip to [city].”

18          21.     Below Alaska’s recommendation, Alaska states in red, conspicuous font: “Don’t

19   miss out! Offer expires when booking is finalized.”

20          22.     This is followed by an option to click, “Yes . . . Add protection for a total of

21   [price]” followed by the conspicuous statement in green font: “Highly Recommended.”

22

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 1          23.     Customers also were given the option to click “No . . . I choose not to protect

 2   my [ticket price] purchase. I understand by declining coverage I may be responsible for

 3   cancellation fees and delay expenses.”

 4          24.     At the bottom of the page in smaller font is the statement “Recommended,

 5   offered and sold by Allianz Global Assistance. Underwritten by Jefferson Insurance Company

 6   or BCS Insurance Company (sic).”

 7          25.     At no point during the transaction did Alaska disclose its financial interest in the

 8   sale of travel insurance to its consumers—either before, during, or after the consumer’s

 9   transaction with Alaska.

10          26.     In addition, if a customer elects to buy travel insurance for a flight, the insurer

11   sends the customer an email containing a copy of the purchased insurance policy. Nowhere in

12   that communication or accompanying insurance policy is there any reference to Alaska

13   receiving any payment in connection with the transaction.

14          27.     At no point does Alaska disclose to consumers that it receives a commission or

15   kickback every time a customer elects to purchase travel insurance, or that the consumers are

16   funding this kickback. At no point during the class period did Alaska disclose to Plaintiff, or

17   any of the class members, the true nature of its relationship with Allianz or any other entity that

18   is associated with the travel insurance offered on Alaska’s website.

19          28.     Further, by indicating that Allianz will be the recipient of Plaintiff’s travel-

20   insurance payments (e.g., by noting that these entities will bill Plaintiff for the full amount of

21   her travel-insurance costs), Alaska’s website fails to disclose that a consumer’s travel-insurance

22   costs are not passed through entirely to the third-party insurance company.

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     CLASS ACTION COMPLAINT - 6                                                     1700 Seventh Avenue, Suite 2200
                                                                                        Seattle, Washington 98101
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 1          C.      As a result of Alaska’s illegal brokerage fees, Plaintiff and the proposed
                    class were damaged.
 2
            29.     Had Alaska disclosed that the price of the travel-insurance product on Alaska’s
 3
     website incorporates an illegal commission paid to Alaska (as opposed to being based solely on
 4
     underwriting risk and insurer profit), Plaintiff would have not bought the travel insurance or
 5
     would have paid less for travel insurance.
 6
            30.     Indeed, travel insurance is available on the open market that is less expensive
 7
     than the insurance offered on Alaska’s website, and often provides superior or comparable
 8
     coverage, in part because the open-market insurance doesn’t include any illegal kickbacks to
 9
     Alaska. For example, Alaska’s insurance is nearly twice as expensive as comparable—if not
10
     superior—plans that are otherwise available to consumers. This discrepancy is attributable to
11
     the illegal commissions that Alaska receives from its insurers.
12
            31.     On or around June 16, 2019, Plaintiff Shattenkirk bought a travel insurance
13
     policy on Alaska’s website to cover her airline ticket purchase.
14
            32.     In purchasing the travel insurance, Plaintiff viewed and was exposed to
15
     Defendant’s website and the statements regarding the travel insurance.
16
            33.     After completing the purchases, Alaska sent Plaintiff correspondence via email
17
     with her individual purchase summary and stated that the trip insurance would be billed
18
     separately.
19
            34.     At no point did Alaska inform Plaintiff that a portion of the trip insurance billed
20
     to her included an illegal kickback to Alaska.
21
            35.     Had Plaintiff been aware that a portion of the costs of the travel insurance was
22
     being used to fund an illegal kickback to Alaska, she would not have paid for the travel
23
     insurance or would have paid less for travel insurance.
24

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     CLASS ACTION COMPLAINT - 7                                                   1700 Seventh Avenue, Suite 2200
                                                                                      Seattle, Washington 98101
                                                                                TEL. 206.682.5600  FAX 206.682.2992
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 1          D.      Plaintiff’s purchase of travel insurance was unrelated to Alaska’s prices,
                    rates, or services.
 2
            36.     Alaska provides no services to its customer in connection with the sale of travel
 3
     insurance on its website.
 4
            37.     The price of the travel insurance is a price offered or set by the insurer, not
 5
     Alaska.
 6
            38.     No contractual relationship is formed between the customer and Alaska in
 7
     connection with a customer’s purchase of travel insurance on Alaska’s website.
 8
            39.     No bargained-for exchange takes place between the customer and Alaska in
 9
     connection with a customer’s purchase of travel insurance on Alaska’s website.
10
            40.     Alaska does not compete with other airlines for insurance-brokerage services,
11
     which—in any event—it is prohibited from providing under state law.
12
                                 V. CLASS ACTION ALLEGATIONS
13
            41.     Plaintiff brings this proposed class action on behalf of a separate state class – a
14
     National Class and a Florida Class (together, “Classes”) pursuant to Federal Rules of Civil
15
     Procedure 23(a), 23(b)(2), (b)(3) and (c)(4).
16
            The National Class is defined as: All persons who purchased a travel insurance policy
17
     on Alaska’s website in the United States within the applicable limitations period (the “Class
18
     Period”).
19
            The Florida Class is defined as: All persons who purchased a travel insurance policy on
20
     Alaska’s website in the State of Florida within the applicable limitations period (the “Class
21
     Period”).
22
            42.     Excluded from the proposed Classes are: the Defendant, any entity in which the
23
     Defendant has a controlling interest, is a parent or subsidiary, or which is controlled by the
24

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     CLASS ACTION COMPLAINT - 8                                                    1700 Seventh Avenue, Suite 2200
                                                                                       Seattle, Washington 98101
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 1   Defendant, as well as the officers, directors, affiliates, legal representatives, heirs, predecessors,

 2   successors, and assigns of Defendant, and judicial officers to whom this case is assigned and

 3   their immediate family members.

 4          43.     Plaintiff reserves the right to re-define the Class definitions after conducting

 5   discovery.

 6          44.     Numerosity (Fed. R. Civ. P. 23(a)(1)). Pursuant to Rule 23(a)(1), the Classes

 7   are so numerous that joinder of all members would be impracticable. While Plaintiff has not yet

 8   determined the exact number of Class Members, Plaintiff believes that the Classes are

 9   comprised of millions of members geographically dispersed throughout the United States, and

10   the State of Florida. The Classes, however, are readily identifiable from information and

11   records in the possession of Defendant and third-parties and can be ascertained through

12   appropriate investigation and discovery. Class Members may be notified of the pendency of

13   this action by any appropriate methods approved by the Court, which may include mail, email,

14   internet postings, or published notices.

15          45.     Commonality and Predominance (Fed. R. Civ. P. 23(a)(2); 23(b)(3)).

16   Common questions of law and fact exist with regard to each of the claims and predominate

17   over questions affecting only individual members of the Classes. Questions common to the

18   Classes include, but are not limited to the following:

19                  (a)     whether Alaska engaged in the unlicensed practice of soliciting,

20   negotiating, transacting, or effectuating contracts of insurance;

21                  (b)     whether Alaska engaged in unlawful, unfair or fraudulent acts and

22   business practices by omitting its receipt or retention of kickbacks/commissions;

23

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     CLASS ACTION COMPLAINT - 9                                                      1700 Seventh Avenue, Suite 2200
                                                                                         Seattle, Washington 98101
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 1                   (c)     whether Alaska’s material omissions relating to travel insurance would

 2   have been considered material by a reasonable consumer;

 3                   (d)     whether Alaska’s material omissions regarding travel insurance resulted

 4   in the class being damaged;

 5                   (e)     whether Alaska received undisclosed kickbacks, commissions, or fees

 6   from the sale of travel insurance; and

 7                   (f)     whether Alaska was unlawfully enriched at the expense of the class

 8   members.

 9           46.     These common questions predominate over any questions solely affecting

10   individual class members.

11           47.     Typicality (Fed. R. Civ. P. 23(a)(3)). Pursuant to Rule 23(a)(3), Plaintiff’s

12   claims are typical of the claims of the members of the Classes because of the similarity,

13   uniformity, and common purpose of injuries she has suffered as a result of Alaska’s allegedly

14   unlawful conduct. Like all class members, Plaintiff was damaged by paying money that Alaska

15   deceptively presented as a pass-through charge to an insurance company, when in fact Alaska

16   enriched itself in this process.

17           48.     Adequacy of Representation (Fed. R. Civ. P. 23(a)(4)). Pursuant to Rule

18   23(a)(4), Plaintiff and her counsel will fairly and adequately protect the interests of the Classes.

19   Plaintiff has no interest antagonistic to, or in conflict with, the Classes that she seeks to

20   represent. Plaintiff has retained competent and capable attorneys with significant experience in

21   complex and class action litigation, including consumer class actions. Plaintiff and her counsel

22   are committed to prosecuting this action vigorously on behalf of the Classes and have the

23   financial and other resources to do so.

24

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     CLASS ACTION COMPLAINT - 10                                                     1700 Seventh Avenue, Suite 2200
                                                                                         Seattle, Washington 98101
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 1           49.     Superiority (Fed. R. Civ. P. 23(b)(3). Class action treatment is a superior

 2   method for the fair and efficient adjudication of this controversy, in that, among other things,

 3   such treatment will permit a large number of similarly situated persons to prosecute their

 4   common claims in a single forum simultaneously, efficiently, and without the unnecessary

 5   duplication of evidence, effort, expense, or the possibility of inconsistent or contradictory

 6   judgments that numerous individual actions would engender. The benefits of the class

 7   mechanism, including providing injured persons or entities with a method for obtaining redress

 8   on claims that might not be practicable to pursue individually, substantially outweigh any

 9   difficulties that may arise in the management of this class action. There will be no significant

10   difficulty in the management of this case as a class action.

11           50.     Risk of Inconsistent or Dispositive Adjudications and the Appropriateness

12   of Final Injunctive or Declaratory Relief (Fed. R. Civ. P. 23(b)(1) and (2)). In the

13   alternative, this action may properly be maintained as a class action, because:

14                   (a)    the prosecution of separate actions by individual members of the Classes

15   would create a risk of inconsistent or varying adjudication with respect to individual members

16   of the Classes, which would establish incompatible standards of conduct for Defendant; or

17                   (b)    the prosecution of separate actions by individual members of the Classes

18   would create a risk of adjudications with respect to individual members of the Classes which

19   would, as a practical matter, be dispositive of the interests of other members of the Classes not

20   parties to the adjudications, or substantially impair or impede their ability to protect their

21   interests; or

22

23

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     CLASS ACTION COMPLAINT - 11                                                    1700 Seventh Avenue, Suite 2200
                                                                                        Seattle, Washington 98101
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 1                  (c)     Defendant has acted or refused to act on grounds generally applicable to

 2   the Classes, thereby making appropriate final injunctive or corresponding declaratory relief

 3   with respect to the Classes as a whole.

 4          51.     Issue Certification. Fed. R. Civ. P. 23(c)(4). In the alternative, the common

 5   questions of fact and law are appropriate for issue certification on behalf of the proposed

 6   Classes.

 7                               VI. FIRST CLAIM FOR RELIEF
                                         (Unjust Enrichment)
 8                 (On Behalf of Plaintiff and the Nationwide and Florida Classes)

 9          52.     Plaintiff re-alleges paragraphs 1-51 as if fully set forth herein and further alleges

10   as follows.

11          53.     Plaintiff brings this claim for unjust enrichment individually and on behalf of the

12   proposed Nationwide and Florida Classes.

13          54.     Plaintiff and each class member conferred a benefit on Alaska by funding

14   Alaska’s illegal kickback, which allowed Alaska to become unjustly enriched at the expense of

15   Plaintiff and the class members.

16          55.     Alaska appreciated, accepted, and retained this benefit, as it garnered substantial

17   profits by virtue of its insurance kickback scheme.

18          56.     Under the circumstances it would be inequitable to allow Alaska to retain this

19   benefit, as Alaska obtained these profits through failing to disclose material information to

20   consumers and otherwise engaging in illegal conduct under state insurance laws.

21          57.     Plaintiff’s claim to the money Alaska made in the transaction is superior to

22   Alaska’s claim, in part because Alaska was never legally entitled to this money.

23

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     CLASS ACTION COMPLAINT - 12                                                   1700 Seventh Avenue, Suite 2200
                                                                                       Seattle, Washington 98101
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 1           58.     Plaintiff and the Class members suffered damages as a result of Alaska’s unjust

 2   enrichment.

 3                                VII. SECOND CLAIM FOR RELIEF
                          Violations of the Washington Consumer Protection Act
 4                                         (RCW § 19.86, et seq.)
                            (On Behalf of Plaintiff and the Nationwide Class)
 5
             59.     Plaintiff re-alleges paragraphs 1-58 as if fully set forth herein and further alleges
 6
     as follows.
 7
             60.     Plaintiff brings this claim for relief individually and on behalf of the Nationwide
 8
     Class pursuant to the Washington Consumer Protection Act (the “WCPA”), RCW § 19.86, et
 9
     seq.
10
             61.     Defendant is a “person” within the meaning of the Washington Consumer
11
     Protection Act, RCW § 19.86.010(1), and conducts “trade” and “commerce” within the
12
     meaning of RCW § 19.86.010(2).
13
             62.     Plaintiff and other members of the classes are “persons” within the meaning of
14
     RCW § 19.86.010(1).
15
             63.     Defendant’s principal place of business is within the State of Washington, where
16
     it directs the illegal practices detailed in this complaint.
17
             64.     Defendant’s failure to disclose its retention of illegal brokerage fees and
18
     Defendant’s failure to indicate that a portion of Plaintiff’s travel-insurance costs would be
19
     illegally retained by or funneled to Alaska constitute unfair and deceptive acts or practices
20
     because they offend public policy, including as set forth in the Washington Insurance Code,
21
     and because these acts and practices are calculated to mislead a reasonable consumer into
22
     purchasing travel insurance at an inflated price.
23

24

                                                                                 TOUSLEY BRAIN STEPHENS PLLC
     CLASS ACTION COMPLAINT - 13                                                    1700 Seventh Avenue, Suite 2200
                                                                                        Seattle, Washington 98101
                                                                                  TEL. 206.682.5600  FAX 206.682.2992
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 1          65.     Washington requires an insurance producer license for the sale of travel

 2   insurance. RCW 48.17.170; WAC 284-17-011(1). Defendant’s acts constitute the unauthorized

 3   sale of insurance in the State of Washington. RCW 48.17.060. By virtue of its violation of the

 4   Washington Insurance Code, Title 48 RCW, and its implementing regulations, Defendant has

 5   committed a per se violation of the WCPA.

 6          66.     Defendant engaged in this unlawful course of conduct with the intent to induce

 7   Plaintiff and the class members into purchasing travel insurance and paying premiums above

 8   what they would otherwise pay or above what the policies are otherwise worth.

 9          67.     Defendant’s omissions and misrepresentations caused substantial injury to

10   Plaintiff and Class members that is not outweighed by any countervailing benefits to consumers

11   or competitors.

12          68.     Plaintiff’s injuries were not reasonably avoidable: Defendant and its insurers

13   were the sole source of material information regarding Alaska’s commissions, and none of

14   these entities disclosed this information to Alaska’s customers. Nor could consumers have

15   reasonably anticipated that (for example) Alaska would violate state insurance laws.

16          69.     Defendant’s unfair acts or practices occurred in its trade or business, are

17   repetitive, and have injured a substantial portion of the public. Defendant’s general course of

18   conduct as alleged herein is injurious to the public interest, and these actions are ongoing and

19   have a substantial likelihood of being repeated.

20          70.     As a direct and proximate result of Defendant’s unfair acts or practices, Plaintiff

21   and Class members have been injured in an amount to be proven at trial.

22          71.     Plaintiff and Class Members would not have purchased the insurance at issue

23   but for Alaska’s unfair conduct.

24

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     CLASS ACTION COMPLAINT - 14                                                  1700 Seventh Avenue, Suite 2200
                                                                                      Seattle, Washington 98101
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 1            72.     Plaintiff and Class Members purchased travel insurance products that were

 2   priced higher than they would have been but for the undisclosed kickbacks, i.e., Plaintiff and

 3   the class were overcharged for that product. Plaintiff and the class would not have paid that

 4   overcharge had they been aware that it would Alaska was charging it illegally.

 5            73.     Plaintiff and the class have a monetary, out-of-pocket loss, as they paid money

 6   to Alaska as a result of its unfair conduct.

 7            74.     Plaintiff and the class are entitled to actual damages, declaratory and injunctive

 8   relief, attorneys’ fees and costs, and all other remedies available under the WCPA.

 9                                 VIII. THIRD CLAIM FOR RELIEF
                     Violation of Florida’s Deceptive and Unfair Trade Practices Act
10                                       Fla. Stat. § 501.201, et seq.
                              (On behalf of Plaintiff and the Florida Class)
11
              75.     Plaintiff re-alleges paragraphs 1-74 as if fully set forth herein and further alleges
12
     as follows.
13
              76.     Plaintiff brings this claim for relief individually and on behalf of the Florida
14
     class.
15
              77.     Plaintiff and the Class Members are “consumers” as defined by Fla. Stat.
16
     § 501.203(7).
17
              78.     Plaintiff and Class Members purchased “things of value” by buying products and
18
     services from Defendant. These purchases were made primarily for personal and family
19
     purposes. Fla. Stat. § 501.203(9).
20
              79.     Defendant engaged in the conduct alleged in this Complaint by advertising and
21
     entering into transactions intended to result, and which did result, in the sale of insurance services
22
     to Plaintiff and Class members. The insurance policies constitute goods, services, and/or property
23
     to consumers, including Plaintiff and Class Members. Fla. Stat. § 501.203(8).
24

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 1          80.     Defendant engaged in acts and omissions that affected trade and commerce.

 2   Defendant’s acts, practices, and omissions were done in the course of Defendant’s business of

 3   advertising, marketing, offering to sell, and travel insurance throughout Florida and the United

 4   States. Fla. Stat. § 501.203(8).

 5          81.     Defendant, engaged in deceptive, unfair, and unlawful trade acts or practices in

 6   the conduct of trade or commerce, in violation of Fla. Stat. § 501.204(1), as alleged herein.

 7          82.     Defendant’s conduct is considered an unfair method of competition, and

 8   constitutes unfair and unconscionable acts and practices. Fla. Stat. § 501.204(1).

 9          83.     These unfair acts and practices violated duties imposed by laws, including but not

10   limited to the FTC Act and Fla. Stat. § 501.171(2).

11          84.     As a direct and proximate result of Defendant’s violation of Florida’s Deceptive

12   and Unfair Trade Practices Act (“FDUTPA”), Plaintiff and the Class Members suffered actual

13   damages. Fla. Stat. § 501.211(2).

14          85.     Also as a direct result of Defendant’s knowing violation of FDUTPA, Plaintiff

15   and Class Members are not only entitled to actual damages, but also declaratory judgment that

16   Defendant’s actions and practices alleged herein violate FDUTPA, and injunctive relief.

17          86.     Plaintiff brings this action for the public benefit in order to promote the public

18   interests in the provision of truthful, fair information to allow consumers to make informed

19   purchasing decisions and to protect Plaintiff, the Class members, and the public from Defendant’s

20   unfair methods of competition and unfair, deceptive, fraudulent, unconscionable, and unlawful

21   practices. Defendant’s wrongful conduct as alleged in this Complaint has had widespread impact

22   on the public at large.

23

24

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 1          87.      The above unfair and deceptive practices and acts by Defendant were immoral,

 2   unethical, oppressive, and unscrupulous. These acts caused substantial injury to Plaintiff and the

 3   Class members that they could not reasonably avoid. This substantial injury outweighed any

 4   benefits to Plaintiff and the Class.

 5          88.      Defendant’s actions and inactions in engaging in the unfair practices and

 6   deceptive acts described herein were negligent, knowing and willful, and/or wanton and reckless.

 7          89.      Plaintiff and the Class members seek relief under Florida Deceptive and

 8   Unfair Trade Practices Act, Fla. Stat. §§ 501.201, et seq., including, but not limited to, damages,

 9   injunctive relief, and attorneys’ fees and costs, and any other just and proper relief.

10                              IX. FOURTH CLAIM FOR RELIEF
                                              (Conversion)
11                  (On Behalf of Plaintiff and the Nationwide and Florida Classes)

12          90.      Plaintiff re-alleges paragraphs 1–89 as if fully set forth herein and further alleges

13   as follows.

14          91.      Plaintiff and Class members have an ownership right to the amounts of their

15   payments illegally diverted to Alaska as a kickback/commission.

16          92.      Defendant has wrongly asserted dominion over the portions of the payments

17   made by Plaintiff and Class Members for trip insurance that Alaska illegally diverted as a

18   kickback/commission. Defendant has done so with every trip insurance policy purchased

19   through its website.

20          93.      As a direct and proximate cause of Defendant’s conversion, Plaintiff and the

21   Class Members suffered damages in the amount of the payments illegally diverted to Alaska as

22   a commission.

23

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 1                                  X. FIFTH CLAIM FOR RELIEF
                                        (Fraudulent Concealment)
 2                    (On Behalf of Plaintiff and the Nationwide and Florida Classes)

 3             94.    Plaintiff re-alleges paragraphs 1–93 as if fully set forth herein and further alleges

 4   the following:

 5             95.    Plaintiff brings a claim for fraudulent concealment individually and on behalf of

 6   the Nationwide Classes and the Florida Class.

 7             96.    Plaintiff purchased travel insurance via Defendant’s website, and was exposed

 8   to the language on that website.

 9             97.    Defendant’s website omitted material facts regarding Defendant’s receipt of

10   illegal insurance-brokerage commissions.

11             98.    Plaintiff and reasonable consumers relied on Defendant’s omissions in deciding

12   to purchase travel insurance and in deciding to purchase travel insurance at the price they paid

13   for it.

14             99.    But for Defendant’s omissions and misstatements regarding its kickbacks, class

15   members would not have purchased insurance from Allianz, or would not have been paid as

16   much as they did for travel insurance.

17             100.   Defendant knowingly made the omissions and misstatements identified above

18   with the intent to defraud Plaintiff and the class members

19             101.   Defendant had superior knowledge regarding the omission at issue, i.e.,

20   Defendant, and not class members, was in a better position to know that it was receiving illegal

21   kickbacks from insurance companies.

22

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 1              102.   Consumers could not readily know that Defendant was receiving undisclosed,

 2   illegal insurance commissions, in part because both Defendant and the insurers with whom it

 3   partnered actively withheld this information from consumers.

 4              103.   Defendant, who actively withheld knowledge of its illegal kickbacks from

 5   consumers, was aware that consumers would rely on these omissions that allowed Defendant to

 6   collect illegal kickbacks.

 7              104.   As a consequence of Defendant’s fraudulent concealment, Plaintiff and the class

 8   members were injured as previously specified.

 9                                       XI. PRAYER FOR RELIEF

10              WHEREFORE, Plaintiff, individually and on behalf of members of the Classes, prays

11   for relief as follows:

12              A.     An order certifying the proposed Classes and designating Plaintiff as the named

13   representative of the Classes and designating her attorneys as Class Counsel;

14              B.     All declaratory relief available;

15              C.     An award to Plaintiff and the Classes of out of pocket, compensatory,

16   exemplary, and statutory damages and injuries, in an amount to be proven at trial;

17              D.     An order enjoining Defendant from further engaging in the misconduct alleged

18   herein;

19              E.     For restitution of all money or property wrongfully obtained by Defendant;

20              F.     For disgorgement, for the benefit of the Classes, all or part of the ill-gotten

21   profits;

22              G.     An award of attorneys’ fees and costs as allowed by law;

23              H.     An award of pre-judgment and post-judgment interest, as provided by law;

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                                                                                   TOUSLEY BRAIN STEPHENS PLLC
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 1        I.     Leave to amend the Complaint to conform to the evidence produced at trial; and

 2        J.     Such other relief as may be appropriate under the circumstances.

 3                              XII. DEMAND FOR JURY TRIAL

 4       Plaintiff hereby demands a trial by jury of all claims so triable.

 5        DATED this 16th day of October, 2019.

 6                                       TOUSLEY BRAIN STEPHENS PLLC

 7                                       s/ Kim D. Stephens
                                         Kim D. Stephens, P.S. WSBA #11984
 8
                                         s/ Rebecca L. Solomon
 9                                       Rebecca L. Solomon, WSBA #51520

10                                       1700 Seventh Avenue, Suite 2200
                                         Seattle, Washington 98101
11                                       Telephone: 206.682.5600/Fax: 206.682.2992
                                         Email: kstephens@tousley.com
12                                               rsolomon@tousley.com

13                                       STULL, STULL & BRODY
                                         Melissa R. Emert (pro hac vice pending)
14                                       6 East 45th St.-5th Floor
                                         New York, NY 10017
15                                       Telephone: 954.341.5561/Fax: 954.341.5531
                                         Email: memert@ssbny.com
16
                                         GLANCY PRONGAY & MURRAY
17                                       Marc L. Godino (pro hac vice pending)
                                         1925 Century Park East, Suite 2100
18                                       Los Angeles, CA 90067
                                         Telephone: 310.201.9150/Fax: 310.432.1495
19                                       Email: mgodino@glancylaw.com

20                                       LEVI & KORSINSKY, LLP
                                         Rosemary M. Rivas (pro hac vice pending)
21                                       44 Montgomery Street, Suite 650
                                         San Francisco, CA 94104
22                                       Telephone: 415.373.1671/Fax: 415.484.1294
                                         Email: rrivas@zlk.com
23

24

                                                                              TOUSLEY BRAIN STEPHENS PLLC
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 1
                                     GUSTAFSON GLUEK PLLC
 2                                   Daniel C. Hedlund (pro hac vice pending)
                                     120 South 6th St.
 3                                   Minneapolis, MN 55401
                                     Telephone: 612.333.8844/Fax 612.339.6622
                                     Email: dhedlund@gustafsongluek.com
 4
                                     Counsel for Plaintiff Madeleine F. Shattenkirk
 5

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                                                                      TOUSLEY BRAIN STEPHENS PLLC
     CLASS ACTION COMPLAINT - 21                                         1700 Seventh Avenue, Suite 2200
                                                                             Seattle, Washington 98101
                                                                       TEL. 206.682.5600  FAX 206.682.2992
